Case 2:02-cr-20406-SHI\/| Document 66 Filed 06/01/05 Page 1 of 2 Page|D 51

IN THE UNITED STATES DISTRICT COURTH.EL`» _:_.=y
FOR THE WESTERN DISTRICT OF TENNESSEE §
WESTERN DIVISION

   

 

UNITED STATES OF AMERICA,
Plaintiffl
V. CR. NO. 02-20406-Ma

CA.RLOS R.AUL CORTEZ,

Defendant.

 

ORDER DIRECTING CLERK TO ISSUE WRIT OF I~IABEAS CORPUS

 

This nutter is set for a re-sentencing hearing on
Monday, June 20, 2005 at 1:30 p.m. The defendant, Carlos Raul
Cortez, 11855-051, is confined as a prisoner at Dalby Correctional
Institution, 805 North Avenue F, Post, Texas 79356. It is necessary
to have Carlos Raul Cortez appear in this court for the hearing.

IT IS THEREFORE ORDERED that the Clerk of Court issue a writ of
habeas corpus ad testificandum to the United States Marshal for the
western District of Tennessee, and to the Warden, Dalby Correctional
Institution, Post, Texas, to have said Carlos Raul Cortez before this

court for the hearing.
{//H/L__,

SAMUEL I'I. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

MaY m__é§l____, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
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Honorable Samuel Mays
US DISTRICT COURT

